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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                                  Chapter 11

AMYRIS, INC., et al.,                                                   Case No. 23-11131 (TMH)

                                    Debtors.1                           (Jointly Administered)


            MOTION FOR ENTRY OF ORDER: (I) AUTHORIZING
     EMPLOYMENT AND PAYMENT OF PROFESSIONALS UTILIZED IN THE
    ORDINARY COURSE OF BUSINESS; AND (II) GRANTING RELATED RELIEF

         The above-captioned debtors and debtors-in-possession (the “Debtors” or the “Amyris”)

file this motion (the “Motion”) for the entry of an order, substantially in the form annexed hereto

as Exhibit A (the “Proposed Order”): (a) authorizing, but not directing, the Debtors to employ and

pay the Ordinary Course Professionals (as defined below) without the necessity of a separate,

formal retention application approved by this Court for each Ordinary Course Professional; and

(b) authorizing, but not directing, the Debtors to pay the Ordinary Course Professionals for

postpetition services rendered and expenses incurred without the necessity of additional court

approval, except as otherwise required by the Procedures (as defined below). In support of this

Motion, the Debtors rely upon and refer this Court to the Declaration of Han Kieftenbeld in

Support of the Debtors’ Chapter 11 Petitions and First Day Relief (the “First Day Declaration”),

incorporated herein by reference.2 In further support of the Motion, the Debtors respectfully

represent as follows:




1
    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
    proposed claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
    principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite
    100, Emeryville, CA 94608.
2
    A capitalized term used but not defined herein shall have the meaning ascribed to it in the First Day Declaration.



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                                     JURISDICTION AND VENUE

        1.         The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2),

and the Court may enter a final order consistent with Article III of the United States Constitution.

The Debtors confirm their consent, pursuant to Rule 9013-1(f) of the Local Rules, to the entry of

a final order by the Court in connection with this Motion to the extent that it is later determined

that the Court, absent consent of the parties, cannot enter final orders or judgments in connection

herewith consistent with Article III of the United States Constitution.

        2.         Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        3.         The bases for the relief requested herein are sections 105(a), 362(d), 363(b), 507(a),

and 541(b)(1) of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”), Rules

6003 and 6004 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Local

Rule 9013-1(m).

                                            BACKGROUND

        4.         On August 9, 2023 and August 21, 2023 as applicable, (the “Petition Date”), each

Debtor filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code (the

“Chapter 11 Cases”). The Debtors are operating their businesses and managing their properties as

debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No request

for the appointment of a trustee or examiner has been made in the Chapter 11 Cases, and no

committees have been appointed or designated.




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        5.         Amyris was founded in 2003 to create a more stable supply of a key anti-malarial

treatment. Through Amyris’ cutting-edge science, artemisinin—the most effective anti-malarial

drug in the world—is now consistently available to treat the deadly disease. Using the same

technological innovations that produced artemesin, Amyris has become the world’s leading

manufacturer of ingredients made with synthetic biology.                Amyris provides sustainable

ingredients that are eco-friendly alternatives to raw material sourced for flavors and fragrances,

sweeteners, cosmetics, pharmaceuticals, and other consumer products.

        6.         In addition, Amyris operates a family of consumer brands that utilize the

Company’s ingredients to meet the growing demand for sustainable, effective, and accessible

products, including Biossance® (clean beauty skincare), JVN™ (haircare), Rose Inc.™ (clean

color cosmetics), Pipette® (clean baby skincare), OLIKA™ (clean wellness), MenoLabs™

(healthy living and menopause wellness), Stripes™ (menopausal wellness), and 4U by Tia™ (a

new clean haircare line).

        7.         A detailed description of the Debtors’ business and facts precipitating the filing of

the Debtors’ chapter 11 proceedings are set forth in the First Day Declaration.

                           THE ORDINARY COURSE PROFESSIONALS

        8.         The Debtors customarily retain the services of various accountants, attorneys, and

other professionals to advise them in matters arising in the ordinary course of the Debtors’ business

but unrelated to the administration of these chapter 11 cases (each, an “Ordinary Course

Professional” and, collectively, the “Ordinary Course Professionals”). Lists of the Debtors’

Ordinary Course Professionals (the “OCP List”) as of the date hereof are attached to the Proposed

Order as Schedules 1 and 2. As discussed more fully below, the Debtors reserve the right to

supplement Schedules 1 and 2 in the future. The Debtors are seeking authority to pay the Ordinary



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Course Professionals during the pendency of these chapter 11 cases, subject to the OCP Caps

(defined below), without the Ordinary Course Professionals having to be retained formally or file

fee applications.

        9.         In contrast, individual retention applications will be required for any professionals

that the Debtors seek to employ in connection with the administration of these chapter 11 cases or

in connection with special matters not appropriate for ordinary course treatment (the “Chapter 11

Professionals”).      The Chapter 11 Professionals will be permitted to be compensated and

reimbursed only in accordance with applicable provisions of the Bankruptcy Code, the Bankruptcy

Rules, the Local Rules, and any orders entered in these chapter 11 cases.

        10.        To the best of the Debtors’ knowledge, none of the Ordinary Course Professionals

represent or hold any interest materially adverse to the Debtors or to their estates with respect to

the matters for which such Ordinary Course Professionals are to be employed. Although certain

of the Ordinary Course Professionals may hold unsecured claims against the Debtors, the Debtors

do not believe that any such claims constitute interests materially adverse to the Debtors, their

estates, their creditors, or other parties in interest.

                      PROPOSED PROCEDURES FOR THE EMPLOYMENT
                         OF ORDINARY COURSE PROFESSIONALS

        11.        The Debtors intend to continue employing Ordinary Course Professionals that

provide a variety of professional services in the same manner and for the same purposes as such

professionals were retained prior to the Petition Date. In the ordinary course of business, the

Ordinary Course Professionals provide legal, accounting, consultancy, and other related services

to the Debtors that the Debtors rely on to manage their day-to-day operations. The Debtors believe

that the continued employment of the Ordinary Course Professionals is necessary to avoid




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disruption to the Debtors’ normal business operations and to avoid the cost, expense, and delay of

securing replacement professionals.

        12.        The proposed employment of the Ordinary Course Professionals and the payment

of monthly compensation on the terms set forth herein are in the best interests of the Debtors, their

estates, and all parties in interest. The relief requested will save the Debtors’ estates the substantial

expense associated with preparing and filing a separate retention application for each Ordinary

Course Professional.

        13.        Accordingly, the Debtors request that the Court dispense with the requirement of

filing individual retention and fee applications for the Ordinary Course Professionals and

implement the following procedures (the “Procedures”):


                          Within thirty (30) days after the later of: (i) the entry of an order granting
                          this Motion, and (ii) the date on which the Ordinary Course Professional
                          commences postpetition services for the Debtors, each Ordinary Course
                          Professional will provide to the Debtors’ counsel a declaration (each, an
                          “OCP Declaration”), substantially in the form attached to the Proposed
                          Order as Schedule 3, certifying, among other things, that the Ordinary
                          Course Professional does not represent or hold any interest adverse to the
                          Debtors or their estates with respect to the matter(s) on which such
                          professional is to be employed.

                          Upon receipt of the OCP Declaration, the Debtors shall file the same with
                          the Court and serve a copy on: (a) the Office of the United States Trustee
                          for the District of Delaware, 844 King Street, Suite 2207, Wilmington, DE
                          19801, Attn: John Schanne (john.schanne@usdoj.gov); (b) counsel to the
                          DIP Lenders; and (c) counsel to any official committee appointed in these
                          Chapter 11 Cases (together, the “Reviewing Parties”).

                          The Reviewing Parties will have fourteen (14) days following the date of
                          service of an OCP Declaration to file with the Court and notify the Debtors’
                          counsel, in writing, of any objection to the retention of an Ordinary Course
                          Professional based on the contents of the OCP Declaration (the “Objection
                          Deadline”). If no objection is filed and served so as to be actually received
                          before the Objection Deadline, the retention and employment of the
                          Ordinary Course Professional shall be deemed approved without further
                          order of the Court.


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                    If an objection is filed with the Court and served by the Objection Deadline,
                    and such objection cannot be resolved within twenty-one (21) days after the
                    Objection Deadline, the matter will be scheduled for adjudication by
                    the Court.

                    No Ordinary Course Professional may be paid any amount for invoiced fees
                    and expenses until such Ordinary Course Professional has been retained in
                    accordance with these Procedures.

                    Once an Ordinary Course Professional is retained in accordance with these
                    Procedures, the Debtors may pay such Ordinary Course Professional 100%
                    of the fees and 100% of the expenses incurred upon the submission to, and
                    approval by, the Debtors of an appropriate invoice setting forth in
                    reasonable detail the nature of the services rendered and expenses actually
                    incurred (without prejudice to the Debtors’ right to dispute any such
                    invoices); provided that, while these Chapter 11 Cases are pending:
                    (a) the fees of each OCP set forth on Schedule 1 attached to the Proposed
                    Order, excluding costs and disbursements, may not exceed $200,000 per
                    month on average over a rolling three month period (the “Tier 1 OCP Cap”);
                    and (b) the fees of each OCP set forth on Schedule 2 attached to the
                    Proposed Order, excluding costs and disbursements, may not exceed
                    $50,000 per month on average over a rolling three month period (the “Tier 2
                    OCP Cap” and, together with the Tier 1 OCP Cap, the “OCP Caps”).

                    In the event that an Ordinary Course Professional seeks compensation in
                    excess of the applicable OCP Cap for any month during these chapter 11
                    cases, such Ordinary Course Professional will file a fee application (each, a
                    “Fee Application”) for the amount of its fees and expenses in excess of the
                    applicable OCP Cap, in accordance with sections 330 and 331 of the
                    Bankruptcy Code and the applicable provisions of the Bankruptcy Rules,
                    the Local Rules, and any other procedures and orders of the Court. Any
                    Ordinary Course Professional that is an attorney will make reasonable
                    efforts to comply with the U.S. Trustee’s requests for information and
                    disclosures set forth in the Guidelines for Reviewing Applications for
                    Compensation and Reimbursement of Expenses Filed under 11 U.S.C.
                    § 330 by Attorneys in Larger Chapter 11 Cases, effective as of November 1,
                    2013 (the “U.S. Trustee Guidelines”).

                    Each Fee Application shall be served upon the Reviewing Parties. The
                    Reviewing Parties shall then have fourteen (14) days to object to the Fee
                    Application. If, after fourteen (14) days, no objection to the Fee Application
                    is filed, the Fee Application shall be deemed approved, and the Debtors may
                    pay 100% of its fees and 100% of its expenses without the need for further
                    action from such Ordinary Course Professional.

                    At three (3) month intervals (each, a “Quarter”) during the pendency of
                    these chapter 11 cases, the Debtors shall file with the Court and serve on

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                    the Reviewing Parties no later than thirty (30) days after the end of such
                    Quarter (the first end of Quarter occurring September 30, 2023) a statement
                    that shall include the following information for each Ordinary Course
                    Professional: (i) the name of the Ordinary Course Professional; (ii) the
                    amounts paid as compensation for services rendered and reimbursement of
                    expenses incurred by that Ordinary Course Professional during the reported
                    Quarter, as well as the amounts paid to each such Ordinary Course
                    Professional in the two (2) months prior to the Quarter, excluding any
                    prepetition periods, in each case broken down by month; (iii) all
                    postpetition payments made to that Ordinary Course Professional to such
                    date; and (iv) a general description of the services rendered by that Ordinary
                    Course Professional (the “Quarterly Statements”).

                    The Reviewing Parties shall be permitted to file objections with the Court
                    to the payments to the Ordinary Course Professional identified in the
                    Quarterly Statement within fourteen (14) days following service of the
                    Quarterly Statement (the “Quarterly Statement Objection Deadline”). If an
                    objection to the fees and expenses of an Ordinary Course Professional is
                    filed with the Court on or before the Quarterly Statement Objection
                    Deadline, such fees and expenses will be subject to review and approval by
                    the Court pursuant to section 330 of the Bankruptcy Code to the extent that
                    such objection is not consensually resolved.

                    All payments to Ordinary Course Professionals shall be subject to sections
                    328(c) and 330 of the Bankruptcy Code.

                    If the Debtors seek to retain an Ordinary Course Professional not already
                    listed on Schedule 1 or Schedule 2 to the Proposed Order, the Debtors shall
                    file with the Court and serve upon the Reviewing Parties a notice listing the
                    Ordinary Course Professionals to be added to the OCP List (the “OCP List
                    Supplement”), along with the OCP Declaration for any professional so
                    added to the OCP List. Such authorization is effective as of the date of
                    filing of the OCP List Supplement or the applicable date of engagement,
                    provided that the latter is no more than thirty (30) calendar days prior to the
                    filing of the OCP List Supplement.

                    If no objection to the OCP List Supplement is filed with the Court and
                    served upon the Debtors’ counsel, as set forth above in section (c) of these
                    Procedures, so as to be actually received within fourteen (14) days after the
                    service thereof, the OCP List, as modified, will be deemed approved by the
                    Court in accordance with the provisions of this Motion and without the need
                    for a hearing or further Court order. Any Ordinary Course Professionals
                    retained pursuant to the OCP List Supplement shall be paid in accordance
                    with the terms and conditions set forth in these Procedures.




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        14.        For the avoidance of doubt, the Debtors reserve their rights to: (a) dispute any

invoice submitted by any Ordinary Course Professional; and (b) retain any additional Ordinary

Course Professionals from time to time as the need arises in accordance with the Procedures.

                                         BASIS FOR RELIEF

        15.        In determining whether an entity is a “professional” whose retention must be

approved by a court as required by section 327 of the Bankruptcy Code, courts generally consider

the following factors:


                          whether the entity controls, manages, administers, invests, purchases, or
                          sells assets that are significant to the debtor’s chapter 11 case;

                          whether the entity is involved in negotiating the terms of a chapter 11 plan;

                          whether the entity is directly related to the type of work carried out by the
                          debtor or to the routine maintenance of the debtor’s business operations;

                          whether the entity is given discretion or autonomy to exercise his or her own
                          professional judgment in some part of the administration of the
                          debtor’s estate;

                          the extent of the entity’s involvement in the administration of the debtor’s
                          estate; and

                          whether the entity’s services involve some degree of special knowledge or
                          skill, such that it can be considered a “professional” within the ordinary
                          meaning of the term.

        16.        See, e.g., In re Am. Tissue, Inc., 331 B.R. 169, 173 (Bankr. D. Del. 2005); In re

First Merchants Acceptance Corp., No. 97-1500 JJF, 1997 Bankr. LEXIS 2245, at *6–7 (Bankr.

D. Del. Dec. 15, 1997) (defining “professionals” within the meaning of section 327 of the

Bankruptcy Code as those whose “occupations . . . play a central role in the administration of the

debtor proceeding, and not those occupations which are [merely] involved in the day-to-day

mechanics of the debtor’s business . . . [or those who are] given discretion or autonomy in some

part of the administration of the debtor’s estate”).


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        17.        These factors must be considered in totality; none of the factors alone is dispositive.

See First Merchants, 1997 Bankr. LEXIS 2245, at *10. Considering all of these factors, the

Debtors believe that the Ordinary Course Professionals are not “professionals” within the meaning

of section 327(a) of the Bankruptcy Code whose retention must be approved by the Court. In

particular, the Ordinary Course Professionals will not be involved in the administration of these

chapter 11 cases, but rather they will provide services in connection with the Debtors’ ongoing

business operations and services ordinarily provided by non-bankruptcy professionals.

Nevertheless, out of an abundance of caution, the Debtors seek the relief requested in this Motion

to avoid any subsequent controversy as to the Debtors’ employment and payment of the Ordinary

Course Professionals during these chapter 11 cases. The Debtors will seek specific Court authority

under section 327 of the Bankruptcy Code to retain any professionals involved in the actual

administration of these chapter 11 cases.

        18.        The Debtors and their estates would be well-served by the continued retention of

the Ordinary Course Professionals because of their prior relationships with the Debtors and such

professionals’ understanding of the Debtors and their operations. The continued employment and

retention of the Ordinary Course Professionals will enable the Debtors to continue the normal

business activities that are essential to the achievement of their chapter 11 objectives. The

administration of the Debtors’ estates would be severely hindered if the Debtors were required to:

(a) submit to the Court an application, affidavit, and proposed retention order for each Ordinary

Course Professional; (b) wait until such retention order is approved before such Ordinary Course

Professional continues to render services; and (c) withhold payment of the fees and expenses of

the Ordinary Course Professionals until they comply with the compensation and reimbursement

procedures applicable to the Chapter 11 Professionals.



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        19.        If such conditions were to apply, there would be a significant risk that some

Ordinary Course Professionals would refuse to provide services and that others would suspend

services pending a specific Court order authorizing the services. Since many of the matters for

which the Ordinary Course Professionals provide services are active on a day-to-day basis, any

delay or need to replace such Ordinary Course Professionals could have significant adverse

consequences. For example, if the expertise and institutional knowledge of the Ordinary Course

Professionals with respect to the particular matters for which they were responsible prior to the

Petition Date were lost, the Debtors’ estates undoubtedly would incur additional and unnecessary

expenses, as the Debtors would be forced to retain other professionals without such expertise and

knowledge at potentially higher rates. It is therefore in the best interest of the Debtors’ estates to

avoid any disruption to the professional services required in the day-to-day operation of the

Debtors’ businesses.

        20.        Moreover, requiring the Ordinary Course Professionals to file retention pleadings

and participate in the payment approval process along with the Chapter 11 Professionals would

unnecessarily burden the Court and the U.S. Trustee, while adding significantly to the

administrative costs of these chapter 11 cases without any corresponding benefit to the

Debtors’ estates.

        21.        Accordingly, the Debtors submit that the relief requested herein is in the best

interests of all creditors and parties in interest and will avoid any disruption of the services

provided by the Ordinary Course Professionals.

                                    RESERVATION OF RIGHTS

        22.        Nothing contained herein is intended or shall be construed as: (a) an admission as

to the validity of any prepetition claim against a Debtor entity; (b) a waiver of the Debtors’ or any



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other party in interest’s rights to dispute any prepetition claim on any grounds; (c) a promise or

requirement to pay a prepetition claim; (d) an implication or admission that any particular claim is

of a type specified or defined in this Motion or any order granting the relief requested by this

Motion; (e) a request or authorization to assume any prepetition agreement, contract, or lease

pursuant to section 365 of the Bankruptcy Code; or (f) a waiver of the Debtors’ or any other party

in interest’s rights under the Bankruptcy Code or any other applicable law.

                                                 NOTICE

        23.        The Debtors will provide notice of this Motion to: (a) the Office of the U.S. Trustee

for the District of Delaware; (b) the holders of the 30 largest unsecured claims against the Debtors

(on a consolidated basis); (c) counsel to the Debtors’ postpetition lenders; (d) the United States

Attorney’s Office for the District of Delaware; (e) the state attorneys general for all states in which

the Debtors conduct business; (f) the Ordinary Course Professionals and (g) any party that requests

service pursuant to Bankruptcy Rule 2002. As this Motion is seeking “first day” relief, within two

business days of the hearing on the Motion, the Debtors will serve copies of the Motion and any

order entered in respect to this Motion as required by Local Rule 9013-1(m).

                                         NO PRIOR REQUEST

        24.        No prior request for the relief sought in this Motion has been made to this or any

other Court.


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                                            CONCLUSION

        WHEREFORE, the Debtors respectfully request entry of the Proposed Order substantially

in the form attached hereto as Exhibit A: (a) granting the relief requested herein, and (b) granting

such other relief as is just and proper.


 Dated: August 24, 2023                              PACHULSKI STANG ZIEHL & JONES LLP

                                                     /s/ James E. O’Neill
                                                     Richard M. Pachulski (admitted pro hac vice)
                                                     Debra I. Grassgreen (admitted pro hac vice)
                                                     James E. O’Neill (DE Bar No. 4042)
                                                     Jason H. Rosell (admitted pro hac vice)
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                                                     Proposed Counsel to the Debtors and Debtors in
                                                     Possession




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                                    EXHIBIT A

                                  (Proposed Order)




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                                  Chapter 11

AMYRIS, INC., et al.,                                                   Case No. 23-11131 (TMH)

                                    Debtors.1                           (Jointly Administered)
                                                                        Ref. Docket No. ____

                 ORDER: (I) AUTHORIZING EMPLOYMENT AND
            PAYMENT OF PROFESSIONALS UTILIZED IN THE ORDINARY
            COURSE OF BUSINESS; AND (II) GRANTING RELATED RELIEF

         Upon consideration of the motion (the “Motion”)2 of the above-captioned debtors and

debtors-in-possession (collectively, the “Debtors”), for the entry of an order (this “Order”):

(a) authorizing, but not directing, the Debtors to employ and pay the Ordinary Course

Professionals (as defined below) without the necessity of a separate, formal retention application

approved by this Court for each Ordinary Course Professional; and (b) authorizing, but not

directing, the Debtors to pay the Ordinary Course Professionals for postpetition services rendered

and expenses incurred without the necessity of additional court approval, except as otherwise

required by the Procedures; all as more fully set forth in the Motion; and upon consideration of the

First Day Declaration; and this Court having jurisdiction over this matter pursuant to 28 U.S.C.

§§ 157 and 1334 and the Amended Standing Order of Reference from the United States District

Court for the District of Delaware, dated February 29, 2012; and this Court having found that this

is a core proceeding pursuant to 28 U.S.C. § 157(b)(2), and this Court having found that venue of




1
    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
    proposed claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
    principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite
    100, Emeryville, CA 94608.
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    A capitalized term used but not defined herein have the meaning ascribed to it in the Motion.



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this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409;

and this Court having found that the Debtors’ notice of the Motion and opportunity for a hearing

on the Motion were appropriate under the circumstances and no other notice need be provided;

and this Court having reviewed the Motion and having heard the statements in support of the relief

requested therein at an interim hearing before this Court (the “Hearing”); and this Court having

determined that the legal and factual bases set forth in the Motion and at the Hearing establish just

cause for the relief granted herein; and upon all of the proceedings had before this Court; and after

due deliberation and sufficient cause appearing therefor,

        IT IS HEREBY ORDERED THAT:

        1.         The Motion is GRANTED as set forth herein.

        2.         All objections to the entry of this Order, to the extent not withdrawn or settled, are

overruled.

        3.         The Debtors are authorized, but not directed, to retain, compensate, and reimburse

Ordinary Course Professionals listed on the OCP Lists annexed hereto as Schedule 1 and

Schedule 2, as such list may be amended or supplemented in accordance with the procedures set

forth below, in accordance with the following approved procedures (the “Procedures”):


                          Within thirty (30) days after the later of: (i) the entry of an order granting
                          this Motion, and (ii) the date on which the Ordinary Course Professional
                          commences postpetition services for the Debtors, each Ordinary Course
                          Professional will provide to the Debtors’ counsel a declaration (each, an
                          “OCP Declaration”), substantially in the form attached hereto as
                          Schedule 3, certifying, among other things, that the Ordinary Course
                          Professional does not represent or hold any interest adverse to the Debtors
                          or their estates with respect to the matter(s) on which such professional is
                          to be employed.

                          Upon receipt of the OCP Declaration, the Debtors shall file the same with
                          the Court and serve a copy on: (a) the Office of the United States Trustee
                          for the District of Delaware, 844 King Street, Suite 2207, Wilmington, DE
                          19801, Attn: John Schanne (john.schanne@usdoj.gov); (b) counsel to the

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                     DIP Lenders; and (c) counsel to any official committee appointed in these
                     Chapter 11 Cases (together, the “Reviewing Parties”).

                     The Reviewing Parties will have fourteen (14) days following the date of
                     service of an OCP Declaration to file with the Court and notify the Debtors’
                     counsel, in writing, of any objection to the retention of an Ordinary Course
                     Professional based on the contents of the OCP Declaration (the “Objection
                     Deadline”). If no objection is filed and served so as to be actually received
                     before the Objection Deadline, the retention and employment of the
                     Ordinary Course Professional shall be deemed approved without further
                     order of the Court.

                     If an objection is filed with the Court and served by the Objection Deadline,
                     and such objection cannot be resolved within twenty-one (21) days after the
                     Objection Deadline, the matter will be scheduled for adjudication by
                     the Court.

                     No Ordinary Course Professional may be paid any amount for invoiced fees
                     and expenses until such Ordinary Course Professional has been retained in
                     accordance with these Procedures.

                     Once an Ordinary Course Professional is retained in accordance with these
                     Procedures, the Debtors may pay such Ordinary Course Professional 100%
                     of the fees and 100% of the expenses incurred upon the submission to, and
                     approval by, the Debtors of an appropriate invoice setting forth in
                     reasonable detail the nature of the services rendered and expenses actually
                     incurred (without prejudice to the Debtors’ right to dispute any such
                     invoices); provided that, while these Chapter 11 Cases are pending:
                     (a) the fees of each OCP set forth on Schedule 1 attached to the Proposed
                     Order, excluding costs and disbursements, may not exceed $200,000 per
                     month on average over a rolling three month period (the “Tier 1 OCP Cap”);
                     and (b) the fees of each OCP set forth on Schedule 2 attached to the
                     Proposed Order, excluding costs and disbursements, may not exceed
                     $50,000 per month on average over a rolling three month period (the “Tier 2
                     OCP Cap” and, together with the Tier 1 OCP Cap, the “OCP Caps”).

                     In the event that an Ordinary Course Professional seeks compensation in
                     excess of the applicable OCP Cap for any month during these chapter 11
                     cases, such Ordinary Course Professional will file a fee application (each, a
                     “Fee Application”) for the amount of its fees and expenses in excess of the
                     applicable OCP Cap, in accordance with sections 330 and 331 of the
                     Bankruptcy Code and the applicable provisions of the Bankruptcy Rules,
                     the Local Rules, and any other procedures and orders of the Court. Any
                     Ordinary Course Professional that is an attorney will make reasonable
                     efforts to comply with the U.S. Trustee’s requests for information and
                     disclosures set forth in the Guidelines for Reviewing Applications for
                     Compensation and Reimbursement of Expenses Filed under 11 U.S.C.

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                     § 330 by Attorneys in Larger Chapter 11 Cases, effective as of November 1,
                     2013 (the “U.S. Trustee Guidelines”).

                     Each Fee Application shall be served upon the Reviewing Parties. The
                     Reviewing Parties shall then have fourteen (14) days to object to the Fee
                     Application. If, after fourteen (14) days, no objection to the Fee Application
                     is filed, the Fee Application shall be deemed approved, and the Debtors may
                     pay 100% of its fees and 100% of its expenses without the need for further
                     action from such Ordinary Course Professional.

                     At three (3) month intervals (each, a “Quarter”) during the pendency of
                     these chapter 11 cases, the Debtors shall file with the Court and serve on
                     the Reviewing Parties no later than thirty (30) days after the end of such
                     Quarter (the first end of Quarter occurring September 30, 2023) a statement
                     that shall include the following information for each Ordinary Course
                     Professional: (i) the name of the Ordinary Course Professional; (ii) the
                     amounts paid as compensation for services rendered and reimbursement of
                     expenses incurred by that Ordinary Course Professional during the reported
                     Quarter, as well as the amounts paid to each such Ordinary Course
                     Professional in the two (2) months prior to the Quarter, excluding any
                     prepetition periods, in each case broken down by month; (iii) all
                     postpetition payments made to that Ordinary Course Professional to such
                     date; and (iv) a general description of the services rendered by that Ordinary
                     Course Professional (the “Quarterly Statements”).

                     The Reviewing Parties shall be permitted to file objections with the Court
                     to the payments to the Ordinary Course Professional identified in the
                     Quarterly Statement within fourteen (14) days following service of the
                     Quarterly Statement (the “Quarterly Statement Objection Deadline”). If an
                     objection to the fees and expenses of an Ordinary Course Professional is
                     filed with the Court on or before the Quarterly Statement Objection
                     Deadline, such fees and expenses will be subject to review and approval by
                     the Court pursuant to section 330 of the Bankruptcy Code to the extent that
                     such objection is not consensually resolved.

                     All payments to Ordinary Course Professionals shall be subject to sections
                     328(c) and 330 of the Bankruptcy Code.

                     If the Debtors seek to retain an Ordinary Course Professional not already
                     listed on Schedule 1 or Schedule 2 hereto, the Debtors shall file with the
                     Court and serve upon the Reviewing Parties a notice listing the Ordinary
                     Course Professionals to be added to the OCP List (the “OCP List
                     Supplement”), along with the OCP Declaration for any professional so
                     added to the OCP List. Such authorization is effective as of the date of
                     filing of the OCP List Supplement or the applicable date of engagement,
                     provided that the latter is no more than thirty (30) calendar days prior to the
                     filing of the OCP List Supplement.

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                          If no objection to the OCP List Supplement is filed with the Court and
                          served upon the Debtors’ counsel, as set forth above in section (c) of these
                          Procedures, so as to be actually received within fourteen (14) days after the
                          service thereof, the OCP List, as modified, will be deemed approved by the
                          Court in accordance with the provisions of this Motion and without the need
                          for a hearing or further Court order. Any Ordinary Course Professionals
                          retained pursuant to the OCP List Supplement shall be paid in accordance
                          with the terms and conditions set forth in these Procedures.

        4.         The OCP Declaration, in form attached hereto as Schedule 3, is approved.

        5.         If an Ordinary Course Professional held a retainer as of the Petition Date, then the

Ordinary Course Professional shall disclose the amount of the retainer in the OCP Declaration.

The Ordinary Course Professional may apply its prepetition retainer against any prepetition claims

once its retention and employment is approved in accordance with the Procedures.

Notwithstanding anything else herein, nothing in this Order shall authorize the Debtors to pay the

prepetition claim(s) of any non-attorney Ordinary Course Professional.

        6.         The entry of this Order and approval of the Procedures do not affect the Debtors’

ability to: (a) dispute any invoice submitted by an Ordinary Course Professional, and (b) retain

additional Ordinary Course Professionals in accordance with this Order and the Procedures, and

the Debtors reserve all of their rights with respect thereto.

        7.         Nothing in the Motion or this Order, nor any actions or payments made by the

Debtors pursuant to this Order, shall be construed as: (a) an admission as to the validity of any

claim against the Debtors; (b) a waiver of the Debtors’ rights to dispute any claim on any grounds;

(c) a promise to pay any claim; (d) an implication or admission that any particular claim would

constitute an allowed claim; (e) an assumption or rejection of any executory contract or unexpired

lease pursuant to section 365 of the Bankruptcy Code; or (f) a limitation on the Debtors’ rights

under section 365 of the Bankruptcy Code to assume or reject any executory contract with any

party subject to this Order. Nothing contained in this Order shall be deemed to increase, decrease,


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reclassify, elevate to an administrative expense status, or otherwise affect any claim to the extent

it is not paid.

        8.         Notwithstanding Bankruptcy Rule 6004(h), to the extent applicable, this Order shall

be immediately effective and enforceable upon its entry.

        9.         The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Motion.

        10.        The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.




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                                           Schedule 1

                              Tier 1 Ordinary Course Professionals

                                               Mailing                       Description of
Ordinary Course Professional
                                               Address                         Services

                                  1 Lincoln Street, Suite 1301
CFGI Holdings, LLC                                                    Accounting Advisory Firm
                                  Boston, MA 02111


                                  30 Rockefeller Plaza, 41st Floor
Deloitte Tax LLP                                                      Tax Services
                                  New York, NY 10112-0015


                                  333 South Grand Avenue
Gibson, Dunn & Crutcher LLP                                           Outside Litigation Counsel
                                  Los Angeles, CA 90071-3197




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                                         Schedule 2

                            Tier 2 Ordinary Course Professionals

                                             Mailing                       Description of
 Ordinary Course Professional
                                             Address                         Services

                                101 Federal Street, 15th Floor
Clark & Elbing LLP                                                  Outside IP Counsel
                                Boston, MA 02110


                                1221 Avenue of the Americas         Outside IP Counsel and
Dentons LLP
                                New York, NY 10020-1089             Outside Counsel for UK


                                7 Times Square, 20th Floor
Fish & Richardson P.C.                                              Outside IP Counsel
                                New York, NY 10036


Gordon Rees Scully              275 Battery Street, Suite 2000
                                                                    Outside Litigation Counsel
Mansukhani, LLP                 San Francisco, CA 94111

                                City Tower
                                40 Basinghall Street
Mewburn Ellis LLP                                                   Outside IP Counsel
                                London EC2V 5DE
                                United Kingdom
                                One Market, Spear Street Tower
Morgan Lewis LLP                28th Floor                          Outside IP Counsel
                                San Francisco, CA 94105
                                21a Anna Van Buerenplein
                                The Hague
NLO                                                                 Outside IP Counsel
                                South Holland, 2502
                                Netherlands
                                Edificio NET
                                Rua Salazares, 842
Patentree                                                           Outside IP Counsel
                                4149-002 Porto
                                Portugal
                                1100 Peachtree Street NE
Kilpatrick Townsend &
                                Suite 2800                          Outside IP Counsel
Stockton LLP
                                Atlanta, GA 30309

                                320 W. Ohio St., Suite 3W
RinLaures LLC                                                       Outside IP Counsel
                                Chicago, IL 60654




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                                             Mailing                       Description of
 Ordinary Course Professional
                                             Address                         Services
                                Key Tower
Squire Patton Boggs             127 Public Square #4900              Outside Patent Counsel
                                Cleveland, OH 44114

                                21 Tamal Vista Blvd # 295
Daijogo & Pedersen, LLP                                              Employment Attorney
                                Corte Madera, CA 94925


Licege Dressler/                675 North 1st Street, Suite 1050
                                                                     Immigration Attorney
Graham Adair, Inc.              San Jose, CA 95112

                                One CityCenter
Covington & Burling LLP         850 Tenth Street, NW                 Regulatory Counsel
                                Washington, DC 20001-4956
                                1001 G Street NW
Keller & Heckman, LLP           Suite 500 West                       Regulatory Counsel
                                Washington, DC 20001




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                                     Schedule 3

                                  OCP Declaration




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                                  Chapter 11

AMYRIS, INC., et al.,                                                   Case No. 23-11131 (TMH)

                                    Debtors.1                           (Jointly Administered)


          DECLARATION IN SUPPORT OF EMPLOYMENT OF [__________] AS
         PROFESSIONAL UTILIZED IN THE ORDINARY COURSE OF BUSINESS

         I, [______________], pursuant to 28 U.S.C. § 1746, declare that the following is true to

the best of my knowledge, information, and belief:

         1.        I am a [position] of [Firm], located at [Street, City, State ZIP Code] (the “Firm”),

which has been employed by the debtors and debtors in possession (collectively, the “Debtors”) in

the above-captioned cases (the “Chapter 11 Cases”) in the ordinary course of the Debtors’

business. The Debtors wish to retain the Firm to continue providing ordinary course services

during the Chapter 11 Cases, and the Firm has consented to provide such services.                                This

Declaration is submitted in compliance with the Order: (I) Authorizing Employment and Payment

of Professionals Utilized in the Ordinary Course of Business; and (II) Granting Related Relief (the

“Ordinary Course Professionals Order”).

         2.        The Firm may have performed services in the past, may currently perform services

and may perform services in the future, in matters unrelated to the Chapter 11 Cases for persons

that are parties in interest in the Chapter 11 Cases. The Firm does not perform services for any



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    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
    proposed claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
    principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite
    100, Emeryville, CA 94608.



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such person in connection with the Chapter 11 Cases or have any relationship with any such

person, their attorneys, or their accountants that would be adverse to the Debtors or their estates.

        3.         The Debtors have requested that the Firm provide [specific description of services]

to the Debtors, and the Firm has consented to provide such services.

        4.         The Firm [has/has not] provided services to the Debtors prior to the commencement

of the Chapter 11 Cases.

        5.         As part of its customary practice, the Firm is retained in cases, proceedings, and

transactions involving many different parties, some of whom may represent or be employed by the

Debtors, claimants, and parties in interest in the Chapter 11 Cases.

        6.         Neither I nor any principal, partner, director, or officer of, or professional employed

by, the Firm, has agreed to share or will share any portion of the compensation to be received from

the Debtors with any other person other than the principal and regular employees of the Firm.

        7.         Neither I nor any principal, partner, director, or officer of, or professional employed

by, the Firm, insofar as I have been able to ascertain, holds or represents any interest adverse to

the Debtors or their estates with respect to the matter(s) upon which the Firm is to be employed.

        8.         The Debtors owe the Firm $[________] for fees and expenses incurred prior to the

date the Chapter 11 Cases were commenced (the “Petition Date”), the payment of which is subject

to the limitations contained in the Bankruptcy Code and any orders of the Court.

        9.         As of the Petition Date, the Firm held a prepetition retainer of $[__________].

        10.        As of the Petition Date, the Firm [was/was not] party to an agreement for

indemnification with the Debtors. [A copy of such agreement is attached as Exhibit A to this

Declaration.]




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        11.        The Firm is conducting further inquiries regarding its retention by any creditors of

the Debtors, and upon the conclusion of such inquiries, or at any time during the period of its

employment, if the Firm should discover any facts bearing on the matters described herein, the

Firm will supplement the information contained in this Declaration.


                   I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.


Dated: _________________


                                                 [Name]
                                                 [Title]
                                                 [FIRM NAME]
                                                 Address:
                                                 Telephone:
                                                 Email:




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